    Case 15-00541-SMT            Doc 26 Filed 01/20/16 Entered 01/20/16 11:42:14                       Desc Notice
                                  That Case May be Closed Page 1 of 1
NTCCLWO7 (12/15)




                                                                                                     Case No.: 15−00541
In Re: Andrew James Walker                                                                                    Chapter: 7
                                         United States Bankruptcy Court for the
                                                  District of Columbia
                                         E. Barrett Prettyman U. S. Courthouse
                                           333 Constitution Ave, NW #1225
                                                Washington, DC 20001
                                                     (202) 354−3280
                                                www.dcb.uscourts.gov


                      NOTICE THAT CASE MAY BE CLOSED WITHOUT DISCHARGE
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   Section 727 of the Bankruptcy Code provides in pertinent part that "[t]he court shall grant the debtor a discharge,
unless . . . after filing the petition, the debtor failed to complete an instructional course concerning personal financial
management . . . ." 11 U.S.C. § 727(a)(11). Bankruptcy Rule 1007 also provides that "Unless an approved provider of
an instructional course concerning personal financial management has notified the court that a debtor has completed
the course after filing the petition...[a]n individual debtor in a chapter 7 . . . case shall file a statement regarding
completion of a course in personal financial management, prepared as prescribed by the appropriate Official Form1 . .
. within 602 days after the first date set for the meeting of creditors under § 341 of the Code . . . ." Fed. R. Bankr. P.
1007−I(b)(7) and (c).

   Pursuant to § 727 and Bankruptcy Rule 1007−I, the court issued a Notice of Requirement to Complete
Instructional Course in Personal Financial Management and to File Certification Thereof (Official Form 423) on
10/15/2015 Docket Entry No. 13. The court's notice specified that, unless an approved provider has notified the
court that the debtor(s) has completed the required course, the debtor(s) must file the certificate of completion of
course in personal financial management as described in 11 U.S.C. § 111 by 01/19/2016. That date has passed, yet
no certificate of completion has been filed. Accordingly, notice is hereby given that the court will close this case
without the entry of the discharge unless the Certification About a Financial Management Course (Official Form
423) (or notification by an approved provider of completion of the required course) is filed within fourteen (14)
days of the entry of this notice. BE WARNED THAT IF THE CASE IS CLOSED WITHOUT ENTRY OF A
DISCHARGE, THE FEE FOR FILING A MOTION TO REOPEN THE CASE IS $260.

Copies to: Debtor(s); Attorney for the Debtor(s) (if any).

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1 If the personal financial management provider has not filed a certificate with the Court, the debtor(s) must submit
Official Form 423 ("Certification About a Financial Management Course") pursuant to Fed. R. Bankr. P.
1007−I(b)(7). The court will not consider any "certification" submitted by the debtor(s) other than Official Form 423.
The form is available at http://www.uscourts.gov/bkforms/bankruptcy_forms.html.
2 On December 1, 2010, Rule 1007(c) was amended to extend the deadline to file a statement regarding completion of
a course in personal financial management from 45 to 60 days after the first date set for the meeting of creditors.


                                                                                          For the Court:
                                                                                          Clerk of the Court
Dated: 1/20/16
                                                                                          By:
                                                                                          vr
